                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

                             Case: 8:20-cv-02453-VMC-AAS


    MIKE BRINKMAN,

            Plaintiff,

    v.

    ACCOUNT RESOLUTION
    SERVICES, LLC.,


            Defendants.
    ________________________________/

      JOINT MOTION TO MODIFY SCHEDULE FOR EXTENSION
    OF DISCOVERY AND DISPOSITIVE MOTION DEADLINES ONLY

         Plaintiff Mike Brinkman (“Plaintiff”) and Defendant Account

Resolution Services, LLC (“ARS”)1 jointly move this Court pursuant to Rule

16(b)(4) of the Federal Rules of Civil Procedure and Rule 3.01 of the Local

Rules for the Middle District of Florida, for a modification of the schedule

to briefly extend the discovery deadline by nine (9) days and the dispositive




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 The legal name of the Defendant is Healthcare Revenue Recovery Group, LLC d/b/a ARS Account Resolution
Services.
motion deadline by six (6) days for the limited purpose of completing expert

discovery and state:

      1.    The Case Management and Scheduling Order (DE 39) sets the

discovery deadline in this case on August 11, 2021, and the deadline for

dispositive and Daubert motions on August 25, 2021.

      2.    As the parties did not include a proposed deadline for expert

disclosures in the Case Management Report [DE 36] neither did the Court

include expert disclosure deadlines in the Case Management and

Scheduling Order.

      3.    The parties have completed all but the expert discovery in this

case, including the deposition of Plaintiff’s expert on July 23, 2021, and have

been working diligently to conclude all discovery matters by the August 11th

deadline; however, due to scheduling conflicts, personal matters that

required the undersigned to travel out of town for a family funeral, and

other time constraints of the expert witness retained by ARS, certain expert

discovery remains unfinished. While ARS’s expert disclosure with report

will likely be served by August 11, 2021, the expert witness is unavailable

for deposition until after the deadline.

      4.    Despite their best efforts to complete discovery within the time

allowed by the Court, the parties recognize they will be unable to conduct


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necessary expert discovery before the August 11, 2021 deadline and seek a

brief extension to and including August 20, 2021 to complete the remaining

expert disclosure and deposition.

      5.    As the disclosure and deposition of ARS’s expert witness will be

necessary for dispositive motions and integral to Daubert motions, the

parties also respectfully request a brief extension of the August 25, 2021

motion deadline to and including August 31, 2021.

      6.    For good cause, the parties seek an additional nine (9) days to

complete expert discovery in this case and an additional six (6) days to file

motions for summary judgment and Daubert motions and certify that they

will continue to work diligently to meet these deadlines. The requested

extensions will allow complete discovery, thorough dispositive motions, and

full trial preparation in this case.

      7.    This is the Parties’ first request for an extension and this

motion is not filed for any dilatory or improper purpose. The relief sought

by this motion will not impact any other deadlines in this case and will allow

the parties to complete the remaining expert discovery as soon as possible.

      WHEREFORE, Plaintiff and ARS respectfully request this Court find

good cause to grant their Joint Motion and enter an order modifying the




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schedule to extend the discovery deadline to August 20, 2021, and the

dispositive motion deadline to August 31, 2021.

                            Memorandum of Law

      Regarding case management and scheduling, Rule 16(b) of the

Federal Rules of Civil Procedure provides in part: “Modifying a Schedule.

A schedule may be modified only for good cause and with the judge’s

consent.” Fed. R. Civ. P. 16(b)(4).          The parties assert that they have

demonstrated good cause to modify the schedule by extending the discovery

deadline by nine (9) days and the dispositive motion deadline by six (6) days.

      With regard to disclosure of expert testimony, Rule 26(a)(2) provides

in part: “. . . (D) Time to Disclose Expert Testimony. . . . Absent a stipulation

or a court order, the disclosures must be made: (i) at least 90 days before

the date set for trial or for the case to be ready for trial; or (ii) if the evidence

is intended solely to contradict or rebut evidence on the same subject matter

identified by another party…, within 30 days after the other party’s

disclosure.” Applying this Rule to this action, “30 days after the other

party’s disclosure” on July 16, 2021 is August 15, 2021, which is after the

August 11, 2021 discovery deadline in the Case Management and

Scheduling Order.




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      Although ARS immediately sought an expert to rebut Plaintiff’s July

16, 2021 Report of Evan Hendricks and Mr. Hendricks’ July 23, 2021

deposition testimony, ARS was not able to secure the services of an expert

until August 2, 2021. Further, while ARS’s expert witness might be able to

complete his report in time for ARS to serve its rebuttal expert disclosure

by August 11, 2021, the expert witness is not available for a deposition until

after August 11, 2021, specifically during the week of August 16, 2021.

Thereafter, the parties will need additional time to prepare summary

judgment motions and Daubert motions based on the report and deposition

testimony of ARS’s expert witness.

      In light of the time constraints, and efforts made by the parties to

meet the scheduled deadlines, they assert that good cause exists to modify

the current schedule by extending the discovery deadline by nine (9) days

to August 20, 2021, and the dispositive motion deadline by six (6) days to

August 31, 2021.

Dated this 4th Day of August 2021.

Respectfully submitted,

/s/ Octavio “Tav” Gomez              /s/ Mary Grace Dyleski
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                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been
electronically filed on August 4, 2021, via the Court Clerk’s CM/ECF system
which will provide notice to: Octavio “Tav” Gomez, Esquire at
TGomez@forthepeople.com and DGagliano@forthepeople.com (Attorneys for
the Plaintiff).


                              /s/ Mary Grace Dyleski
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